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                       UNITED STATES COURT OF APPEALS                     FILED
                              FOR THE NINTH CIRCUIT                       AUG 30 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
DAVID JOSEPH MEISTER,                               No.   22-35830

                   Petitioner-Appellant,            D.C. No. 1:19-cv-00173-DKG
                                                    District of Idaho,
 v.                                                 Boise

TYRELL DAVIS,                                       ORDER

                   Respondent-Appellee.

Before:        SCHROEDER and SANCHEZ, Circuit Judges.

         Appellant’s motion to file an oversized motion for reconsideration en banc

(Docket Entry No. 6) is granted.

         Appellant’s motion for reconsideration en banc (Docket Entry No. 7) is

denied on behalf of the court. See 9th Cir. R. 27-10; 9th Cir. Gen. Ord. 6.11.

         No further filings will be entertained in this closed case.




OSA162
